Case 14-51720           Doc 1730       Filed 10/02/19       Entered 10/04/19 15:13:37               Page 1 of 3
                Case 3:19-cv-01367-JAM Document 5 Filed 10/02/19 Page 1 of 3



                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF CONNECTICUT

     In re                                            :
                                                      :
     O.W. BUNKER HOLDING NORTH                        : 19-cv-1367 (JAM)
     AMERICA, INC., et al.,1                          :
                                                      :
                      Debtors/Appellants/             :


                                STIPULATED NOTICE OF DISMISSAL

             The parties, through their undersigned attorneys, having resolved this action pursuant to a

 confidential agreement, hereby agree to dismiss the Notice of Appeal filed by O.W. Bunker USA

 Inc. Liquidating Trust on September 3, 2019 (Docket No. 1; docketed 9/4/2019) with prejudice

 in accordance with Rule 8023 of the Federal Rules of Bankruptcy Procedure.

             The parties further stipulate that each party shall bear its own costs and attorneys’ fees.




                               [Remainder of Page Intentionally Left Blank]




 1
  The last four digits of the Debtors’ taxpayer identification numbers follow in parentheses: O.W. Bunker Holding
 North America Inc. (7474) and O.W. Bunker USA Inc. (3556). The Debtors’ address is: Kelly Beaudin Conlan,
 Trustee, O.W. Bunker USA Inc. Liquidating Trust, c/o Duff & Phelps, LLC, 55 East 52nd Street 31st Floor, New
 York NY 10055 USA.


 42850342.1                                           -1-
Case 14-51720       Doc 1730    Filed 10/02/19      Entered 10/04/19 15:13:37        Page 2 of 3
              Case 3:19-cv-01367-JAM Document 5 Filed 10/02/19 Page 2 of 3



 Dated: October 2, 2019

 ROBINSON & COLE LLP                         SIMMS SHOWERS LLP

 Michael R. Enright (ct10286)                 /s/ J. Stephen Simms
 Patrick M. Birney (ct19875)                 J. Stephen Simms
 280 Trumbull Street                         201 International Circle
 Hartford, CT 06103                          Baltimore, Maryland 21030
 Telephone: (860) 275-8299                   jssimms@simmsshowers.com
 menright@rc.com                             Telephone:      (410) 783-5795
 pbirney@rc.com                              Facsimile:      (410) 510-1789

 and                                         Attorney for Dolphin Marine Fuels LLC

  /s/ Davis Lee Wright
 Natalie D. Ramsey (admitted pro hac vice)
 Davis Lee Wright (ct30344)
 1000 N. West Street, Suite 1200
 Wilmington, DE 19801
 Telephone: (302) 516-1703
 nramsey@rc.com
 dwright@rc.com

 Attorneys for O.W. Bunker USA Inc.
 Liquidating Trust, Appellant




 42850342.1                                   -2-
Case 14-51720       Doc 1730       Filed 10/02/19     Entered 10/04/19 15:13:37        Page 3 of 3
              Case 3:19-cv-01367-JAM Document 5 Filed 10/02/19 Page 3 of 3




                                  CERTIFICATE OF SERVICE

         I certify that on October 2, 2019, a true and correct copy of the above and foregoing has

 been served via electronic mail and the Court’s CM/ECF Document Filing System upon the

 follow registered CM/ECF users:

 J. Stephen Simms
 Simms Showers LLP
 201 International Circle
 Baltimore, MD 21030
 jssimms@simmsshowers.com



                                              /s/ Davis Lee Wright
                                              Davis Lee Wright (ct30344)
                                              1000 N. West Street, Suite 1200
                                              Wilmington, DE 19801
                                              Telephone: (302) 516-1703
                                              dwright@rc.com




 42850342.1                                     -3-
